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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )                    1:21-CR-00061-LEK-1
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
MARTIN KAO,                   )
                              )
          Defendant.          )
_____________________________ )

                         REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY

              The defendant, by consent, has appeared before me pursuant to Rule 11,

Fed.R.Crm.P., and has entered a plea of guilty to Counts 1, 2, 3, 4, 5, 6, 7 and 8 of the

Indictment. After examining the defendant under oath, I have determined that the

defendant is fully competent and capable of entering an informed plea, that the guilty plea

was intelligently, knowingly and voluntarily made, and that the offenses charged is

supported by an independent basis in fact establishing each of the essential elements of

such offense. I therefore recommend that the plea of guilty be accepted and that the

defendant be adjudged guilty and have sentence imposed accordingly.

              IT IS SO RECOMMENDED.

              DATED: Honolulu, Hawaii, September 7, 2022.
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                                      NOTICE



      Failure to file written objections to this Report and Recommendation within

fourteen (14) days from the date of its service shall bar an aggrieved party from

attacking such Report and Recommendation before the assigned United States

District Judge. 28 U.S.C. § 636(b)(1)(B).
